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 7
 8                          UNITED STATES DISTRICT COURT
 9                 SOUTHERN DISTRICT OF CALIFORNIA
10   DREW HILL,                   ) Case No. '15CV1877 JAH NLS
                                  )
11                    Plaintiff,  ) COMPLAINT FOR DAMAGES
                                  )
12       v.                       ) JURY TRIAL DEMANDED
                                  )
13   PROGRESSIVE MANAGEMENT       )
     SYSTEMS,                     )
14                                )
                      Defendant.  )
15                                )
                                  )
16
17                                       INTRODUCTION
18         1.    Drew Hill (“Plaintiff”) seeks redress in this action for Progressive
19   Management Systems’ (“Defendant”) practice of making unauthorized phone calls to
20   cellular telephones under the Telephone Consumer Protection Act, 47 U.S.C. §227, et
21   seq. (“TCPA”). The TCPA prohibits unsolicited voice calls to cellular telephones
22   without prior express written consent within the meaning of the TCPA.
23                               JURISDICTION AND VENUE
24         2.    This Court has jurisdiction under 28 U.S.C. §1331, §1337, and 47 U.S.C.
25   §227 (TCPA). Venue is proper in the United States District Court for the Central
26   District of California pursuant to 28 U.S.C. § 1391 for the following reasons: Plaintiff
27   resides in the City of San Diego, County of San Diego, State of California which is
28   within this judicial district; the conduct complained of herein occurred within this


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 1   judicial district; and many of the acts and transactions giving rise to this action
 2   occurred in this district.
 3                                            PARTIES
 4         3.     At all times relevant, Plaintiff was an individual residing in San Diego,
 5   California. Plaintiff is, and at all times mentioned herein was, a “person” as defined by
 6   47 U.S.C. §153(39).
 7         4.     Defendant is a debt collection company and is, and at all times mentioned
 8   herein was, a corporation and a “person”, as defined by 47 U.S.C. §153(39).
 9         5.     Defendant is a California corporation with offices at 1521 West Cameron
10   Avenue, 1st Floor, West Covina, California 91790. Defendant is registered to do
11   business in the State of California and its current status is suspended for failure to pay
12   franchise tax board taxes.
13         6.     Plaintiff makes the following allegations on information and belief, with
14   the exception of those allegations that pertain to Plaintiff, or to plaintiff’s counsel,
15   which Plaintiff alleges on personal knowledge.
16         7.     While many violations are described below with specificity, this
17   Complaint alleges violations of the statutes cited in their entirety.
18         8.     In 1991, Congress enacted the Telephone Consumer Protection Act, 47
19   U.S.C. §227 (TCPA), in response to a growing number of consumer complaints
20   regarding certain telemarketing practices.
21         9.     The TCPA regulates, among other things, the use of automated telephone
22   equipment, or “auto-dialers.” Specifically, the plain language of section
23   227(b)(1)(A)(iii) prohibits the use of auto-dialers to make any call to a wireless number
24   in the absence of an emergency or the prior express consent of the called party.
25         10.    Defendant advertises its utilization of auto-dialing to collect its customers’
26   accounts:
27                “Of course, our abilities go well beyond that. In fact, once we're able
           to bring your information into our system, our Dynamic Collections System
28         can really move into full gear. Skip-Trace Support, Systems, Customized


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 1        Software Programs, and Predictive Dialers (just to name a few) are fully
          integrated into the process of helping our incredibly talented people do what
 2        they do best – collect on your accounts using their personal touch and
          expertise.
 3
                 See website at www.omscollects.com/dvnamiccollections.htm.
 4
 5        11.    According to findings by the Federal Communication Commission
 6   (“FCC”), the agency Congress vested with authority to issue regulations implementing
 7   the TCPA, such calls are prohibited because, as Congress found, automated or
 8   prerecorded telephone calls are a greater nuisance and invasion of privacy than live
 9   solicitation calls, and such calls can be costly and inconvenient. The FCC also
10   recognized that wireless customers are charged for incoming calls whether they pay in
11   advance or after the minutes are used.
12        12.    On January 4, 2008, the FCC released a Declaratory Ruling wherein it
13   confirmed that autodialed and prerecorded message calls to a wireless number by a
14   creditor (or on behalf of a creditor) are permitted only if the calls are made with the
15   “prior express consent” of the called party. The FCC “emphasize[d] that prior express
16   consent is deemed to be granted only if the wireless number was provided by the
17   consumer to the creditor, and that such number was provided during the transaction
18   that resulted in the debt owed.”
19                                             FACTS
20        13.    On or about March 5, 2013, Plaintiff received a collection call on his
21   cellular telephone number ending in “0373” from Defendant. During that call Plaintiff
22   verbally revoked any consent to receive any telephone calls from Defendant.
23        14.    The FCC in its 2015 Order makes clear that consumers may revoke
24   consent through any reasonable means, either orally or in writing. See 2015 FCC
25   Order, ¶¶ 55, 64 cited in Reardon v. Uber Technologies, Inc., No. 14-CV-05678-JST,
26   2015 WL 4451209, at *10 (N.D. Cal. July 19, 2015)
27        15.    Notwithstanding the fact that Plaintiff revoked his consent, Defendant
28   repeatedly contacted Plaintiff on Plaintiff’s cellular telephone. Plaintiff received


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 1   numerous calls on his cellular phone from Defendant.
 2         16.   The calls to Plaintiff’s cellular telephone ending in “0373” from Defendant
 3   occurred on, but not limited to, the following dates and times March 5, 2013, 5:01 pm;
 4   April 2, 2013, 5:15 pm; April 19, 2013, 9:26 am; April 27, 2013, 8:44 am; April 27,
 5   2013, 10:11 am; May 3, 2013, 1:48 pm; May 7, 2013, 8:35 am; May 21, 2013, 4:20
 6   pm; May 24, 2013, 1:43 pm; May 28, 2013, 2:08 pm; May 30, 2013, 11:30 am; June 7,
 7   2013, 8:03 am; June 12, 2013, 4:50 pm; June 28, 2013, 1:07 pm; June 21, 2013, 8:57
 8   am; June 26, 2013, 11:56 am; July 30, 2013, 10:49 am; and February 17, 2014, 9:17
 9   am.
10         17.   All telephone contact by Defendant to Plaintiff on his cellular telephone
11   occurred via an “artificial or prerecorded voice” and/or “automatic telephone dialing
12   system,” as defined by 47 U.S.C. §227(a)(1), and all calls that are the subject of this
13   Complaint occurred on or after the date that is four years prior to the filing of this
14   action and 20 days following the filing of this Complaint.
15         18.   The telephone number that Defendant called to contact Plaintiff, using an
16   “artificial or prerecorded voice” and/or made by an “automatic telephone dialing
17   system,” was assigned to a cellular telephone service as specified in 47 U.S.C.
18   §227(b)(1)(A)(iii).
19         19.   The complained of telephone calls constituted calls not for emergency
20   purposes as defined by 47 U.S.C. §227(b)(1)(A)(i).
21         20.   Defendant’s telephone calls to Plaintiff’s cellular phone utilizing an
22   “artificial or prerecorded voice” or placed by an “automatic telephone dialing system”
23   were for non-emergency purposes and in the absence of Plaintiff’s prior express
24   consent violated 47 U.S.C. §227(b)(1)(A).
25         21.   Defendants’ misconduct in placing some or all of these telephone calls to
26   Plaintiff’s cell phone was willful and knowing and Plaintiff is entitled to an award of
27   $1,500.00 in statutory damages for each and every violation, pursuant to 47 U.S.C. §
28   227(b) (3) (C).


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 1
                               FIRST CLAIM FOR RELIEF
 2           (Negligent Violations of the Telephone Consumer Protection Act)
 3        22. Plaintiff incorporates the above factual allegations herein.
 4        23.    Defendant made unsolicited commercial phone calls to the wireless
 5   telephone number of Plaintiff using equipment that, upon information and belief, had
 6   the capacity to store or produce telephone numbers to be called, using a random or
 7   sequential number generator and/or were made utilizing an “artificial or prerecorded
 8   voice”.
 9        24.    These phone calls were made after oral revocation by plaintiff of prior
10   express consent.
11        25.    Defendant has therefore violated the TCPA, 47 U.S.C. §227(b)(1)(A)(iii),
12   which makes it unlawful for any person within the United States … to make any call
13   (other than a call made for emergency purposes or made with the prior express consent
14   of the called party) using any automatic telephone dialing system or an artificial or
15   prerecorded voice ….”
16        26.    As a result of Defendant’s illegal conduct, the members of the class
17   suffered actual damages and, under section 227(b) (3) (B), is entitled to, inter alia, a
18   minimum of $500.00 in damages for each such violation of the TCPA.
19
                              SECOND CLAIM FOR RELIEF
20          (Knowing and/or Willful Violations of the Telephone Consumer Protection
                                              Act)
21
          27.    Plaintiff incorporates by reference all of the above paragraphs before his
22
     Third Count for Relief as though fully stated herein.
23
          28.    The foregoing acts and omissions of Defendant constitute numerous and
24
     multiple knowing and/or willful violations of the TCPA, including but not limited to
25
26   each and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.

27        29.    As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
28   227 et seq., Plaintiff is entitled to an award of $1,500.00 in statutory damages for each


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 1   and every violation, pursuant to 47 U.S.C. § 227(b) (3) (B) and 47 U.S.C. § 227(b) (3)
 2   (C).
 3                                     PRAYER FOR RELIEF
 4          WHEREFORE, Plaintiff requests that the Court enter judgment in favor of
 5   Plaintiff and the class members and against Defendant:
 6                A.     As a result of Defendant’s negligent violations of 47 U.S.C.
 7          §227(b)(1), Plaintiff seeks $500.00 in statutory damages for each and every call
 8          that violated the TCPA;
 9                B.     As a result of Defendant’s willful and/or knowing violations of 47
10          U.S.C. §227(b)(1), Plaintiff seeks treble damages, as provided by statute, of up to
11          $1,500.00 for each and every call that violated the TCPA;
12                C.     Injunctive relief prohibiting such violations of the TCPA by
13          Defendant in the future;
14                D.     Such other relief as the Court deems just and proper.
15                                        TRIAL BY JURY
16          Pursuant to the seventh amendment to the Constitution of the United States of
17   America, Plaintiff is entitled to, and demands, a trial by Jury.
18
19   DATED: August 24, 2015                  LESTER & ASSOCIATES
20
21                                           By:    /s/ Patric A. Lester
                                                    Patric Lester
22                                                  Attorney for Plaintiff
23                                                  DREW HILL
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